Case 9:19-cv-81160-RS Document 404-2 Entered on FLSD Docket 05/01/2020 Page 1 of 2




                              EXHIBIT B
                      FILED UNDER SEAL
Case 9:19-cv-81160-RS Document 404-2 Entered on FLSD Docket 05/01/2020 Page 2 of 2




                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                                         Case No. 9:19-cv-81160-RS




    APPLE INC.,

                                    Plaintiff,

              v.

    CORELLIUM, LLC,

                                 Defendant.


   DECLARATION OF ELANA NIGHTINGALE DAWSON IN SUPPORT OF PLAINTIFF
    APPLE INC.’S RESPONSE TO EMERGENCY MOTION BY THE UNITED STATES
     TO STAY THE FURTHER DEPOSITION OF CHRISTOPHER WADE AND FOR
      ADDITIONAL RELIEF RELATED TO PLAINTIFF’S MOTION TO COMPEL

             1.     My name is Elana Nightingale Dawson. I am over the age of 18. I have personal

   knowledge of the facts contained herein, which are true and correct. If called as a witness, I could

   competently testify to these statements.

             2.     I am an attorney at Latham & Watkins LLP and counsel for Apple Inc. in this

   matter.

             3.     On April 20, 2020, I discussed by telephone with counsel for Corellium, Jonathan

   Vine, Apple’s intent to file a motion




             I declare under penalty of perjury that the foregoing is true and correct.


   Executed on April 30, 2020
   in Silver Spring, MD                                    Elana Nightingale Dawson


                                                       1
